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        Case 8:04-cr-00545-JSM-E_J Document 186 Filed 04/25/05 Page 2 of 6 PageID 324
A 0 2453 (Rev 12/03) Sheet 2 - Imprisonlllent
Defendant:      CAMILO GONGORA-RIASCOS                                                                   Judgmcnr - Pnge 2 of 5
Case No.:       8:04-cr-535-'r-30EAJ



       After considering t h e advisory sentencing guidelines a n d all of the f a c t o r s itle~itifiedin Title 18 U.S.C.
$3 3553(a)(l)-(7),thc court fii~clsthat the sentcnce i~nposedis sufficient, hut not greater thnn necessary, to comply with
the statutory purposes of sentcnci~~g.


         The defenclant is herel)y committccl to the custody of the United States Rtireau of I'risons to be
imprisoned for a total term of SICWN'I'Y (70) MONTIIS as to Counts One and Two o f the Indictnlent: all such terms to
r u n concurrently.



-
X The court makes the following recommendations ro the Bureau of Prisons:                              The defendant shall be placed at FCI Three
Rivers (Texas), if possible.



X The defendant is runlanded to rhc custody ol' the United Stares Marshal.
-
-The dcfcndanr shall surrender to the United States Marshal for this district.

          -at - a. m.lp.ni. on -.
          -as notified by the U ~ l i ~ cStarcs
                                          d     Marshal.

-The defendant shall s u r ~ ~ ~li)r
                                 d c service
                                      r      of scrlrrrlce at the institution designated by the Hul-cau 111' I'risons.

          -hehre 2 p.m. on -.
          -as notit'icd by the Unirctl SI;ILCSMII~sII~I.
          -as notified hy the I'rohatio~l or Pretrial Services Office.




                                                                       RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                     10                                                 at

                                                                          , with a certified copy of this juclg~ncnt.


                                                                                              Unikd Statcs Marshal

                                                                         By:

                                                                         Deputy Marshal
        Case 8:04-cr-00545-JSM-E_J Document 186 Filed 04/25/05 Page 3 of 6 PageID 325
A 0 245B (Rev. 12/03) Sheel 3 - S u p e n h d Release

Defendant:         CAMILO GONGORA-RIASCOS                                                                             Judgment - Page 3of 6
Case No.:          8:04-cr-545-T-30EA.I
                                                           SUPERVISED RELEASE

       Upon release f r o m imprisonment, the defendant shall he on supcrvisecl r e l e a s e for a t e r m of FIVE (5) YEARS as t o
Counts One and Two of the Indictment; all such t e r m s to run concurrently.

        The defendant shall report to the probarion office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.
The defendant shall not illegally posscss a controlled substance. The defendant shall refrain fro111 m y unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from ilnprisonment and at least two periodic drug rests
thereafter, as determined by the court.

         The above drug testing condition is suspended. based on the court's determination that the defendant poses a low risk of future
         substance abuse. However. the Court authorizes the probation officer to conduct random drug tcsting not to exceed 104 tests
         per year.

         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

          If this judgment imposes a fine or n restitution it is a condition of supervised release thal the defendant pay in accordance with
          the Schedule of Payments sheet of this jud,wient.

          The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
          conditions on the attached pagc.
                                            STANDARD CONDITIONS OF SUPERVISTON
          the defendant shall not leave the judicial district withot~tthe permission of the court or prohalion oflicer;

          the defendant shall rcport to the probation oflicer and shall submit a truthful and complete written rcport within the first Live days of each
          month:

          the defendant shall ruis\ver tr~~thfully
                                                all i n q ~ ~ i r i by
                                                                    e s the probation oflicer and follow the instructions of the probntio~iofficer;

          the defendant sliall support his or her dependents and meet other farnil), responsibilities:

          the defendant shall work regularly at a lattful occupation. unless cscused by the probation ol'ticer li)r schooling, lraining, or othcr
          acceptable reasons:

          the defendant shall no ti^ thc prob:ltion olficer at le:st ten days prior to any change in residence or employment;

          the delindant shall refrain from excessive usc of'nlcohol and slinll not purchase. possess, use. distribute, or administer any controlled
          suhsitancc or any paraphernalia related to any controlled substances, except as prescribed by a physician;

          the defendant shall not tiequent places tvherc controlled substances arc illegally sold. used, distributed. or administered:

          the defendant shall not associate \viih any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony. unless granted permission to do s o by the probation ol'tice~.:

          the deCend;mt shall permit n probation offrccr to visit him or her at any time ar home or elsr\r.here and shall permit contiscntion oiany
          contraband observed in plain view of the probation officer;

          the defcndant shall notify the probntion officer \\ithi11 seventy-i\\o hours of' being nrrestcd or qucstioncd by a law enforcement oflicer:

          thc dcfindant shall not enter into any agreement to act ;is an inlbrmcr or a special agent o f a Inw cnforccrnent agency without the
          permission of the court;

          as directed hy the probation officcr. the dcfcndant shall notifi third pnrtics of risks thal may he occasioned by he defendant's criminal record
          or personal hislory or characteristics and shall permit [he probation officer to ~nnkesuch notifications and to confirrrr the defendant's
          conyliancc \villi such no~ificationrequirement.
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A 0 2J5B (Rev. 12/03) Sheet 3C - Supervised Relciisc

Defentl;~nt:         CAMILO GONGORA-RIASCOS                                                      Judgment - Page 4 of (,
Case No.:            8:04-cr-545-T-30EAJ
                                              SPECIAL CONDITIONS OF SUPERVISION

           The defendant shall also comply with tlic following adtlirional conditions of siipervised release:


X
-          If the defendanr be deported, he/she shall not be allowed to re-enter the United Slates willloul tho oxpress permission of the
           appropriate governmental auhority.
       Case 8:04-cr-00545-JSM-E_J Document 186 Filed 04/25/05 Page 5 of 6 PageID 327
 A 0 245B (Rev 12/03) Sheet 5 - Criminal Ivlonerar)' Penallies

 Defendant:            CAMILO GONGORA-RIASCOS                                                      Judgment - Page 5 of 6
 Case No.:             8:04-cr-545-T-30EA.I

                                                   CRIMINAL MONETARY PENALTIES

            The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                  Assess~nent                            -
                                                                         Fine                      Total Restitution

            Totals:               $200.00                                Waived                    N/A


 -          The determination of restitution is deferred until -.                 An At??enciedJ~idgn?enIit1 a Crirni/ral Case ( A 0 245C) will
            be entered after such determlnat~on.
 -          The defendant musl makc restitution (including community restitution) to the following payees in the amount listed
            below.
            If the defendant makes a partial payment. each payee shall receive an approximntcly proportioned payment. unless
            specified otherwise in the priority order 01: ercenta e payment column below. However, pursuant Lo 18 U.S.C. $
                                                                 6       9
            3664(i), all nonfederal victims must be pal beforc t IC United States.
                                                                                                                    Priority Order or
                                                          *Total                     Amount of                      Percentage of
 Name of Pavee                                          Amount of Loss            Kcstitution Ordered               Payment




                                  Totals:               L                         S


 -          Restitution amount ordered pursuant to plea agrccmcnt $
 -          Thc defendant shdl pay interest on any fine or restitution of no re than S2.500, unless the restitution or fine is paid in full
            before the fifteenth day after the date of the judgment, pursuanl to 18 U.S.C. § 3612(f). All of the payment options on Sheet
            6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

 -          The court determined that the defendant does not have thc :ibility to pay interest and i t is ordered that:
          -           the interest requirement is waived Tor thc - fine           - restitution.
          -           the interest requirement for the - finc - restitution is modified as follows:


* Findings for the total anlount of losses are required under Chapters 1WA. 110, 1 1OA, and 1 13A of Title 18 for the offenses committed
on or after September 13, 1994. but before April 23, 1996.
     Case 8:04-cr-00545-JSM-E_J Document 186 Filed 04/25/05 Page 6 of 6 PageID 328
A 0 245B (Rev 12/03) Sheet 6 - Schedule of Payments
Defendant:        CAMILO GONGORA-RIASCOS                                                    Judgment - Page 6of 6
Case No.:         8:04-cr-545-T-30EAJ


                                                 SCHEDULE OF PAYMENTS



Having assessed the defendanr's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.       -
         X        Lump sum payment of $ 200.00 due immediately. balance due
                            -not later than                   , Or

                            -in accordance        A    C,   A   D,       A   E or - F below: o r
B.       -        Payment to begin immediately (may be combined with -C. - D, or -F below): or
                  Payment in equal                 (e.g.. weekly, monthly. quarterly) installments of $             over a
                  period of          (e.g., months or years). to conimence             days (e.g., 30 or 60 days) after the
                  date of this judgment: or
D.       -        Payment in equal                 (e.g., weekly. monthly. quarterly) installments of $               over a
                  neriod
                  1   -  of
                         --
                               , (e.g.. nionths or years) to conmence                     (e.g. 30 or 60 days) after release
                  from imprisonment to a term of supervision; or
E.       -        Paynlent during the term of supervised release will commence within                        (e.g., 30 o r
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
F.       -        Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this jud Inent imposes a period of imprisonment, payment of criminal
                                       e                             7
monetary penalties is due during in1 risonment. All crimina monetary penalties, except those pa ments made through the
Federal Bureau of Prisons' Innlate -inancia1 Responsibility Program, are made to the clerk of t le court.     Y
The defendant shall receive credit for all payments previously made toward any crinlinal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:
The Court orders that the defendant forfeit to the United States immediately and voluntaril an and all assets and property.
                                                                                                     K 2
o r portions thereof, subject to forfeiture, which are in the possession o r control of t e efendant or the defendant's
nominees.



Payments shall bc applied in the followi~igorder: (1) assessment, (2) restitution principal, (3) restitution interest. (4) fine principal,
(5) community restitution, (6) fine interest (7) penalties, and (8) costs. including cost of prosecuiion and cow cosis.
